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                         N THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

LEMKO CORPORATION,                                §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §   Civil Action No. 3:22-CV-363-L
                                                  §
MICROSOFT CORPORATION and                         §
AFFIRMED NETWORKS, INC.,                          §
                                                  §
       Defendants.                                §

                                             ORDER

       On July 29, 2024, The Findings, Conclusions and Recommendation of the United States

Magistrate Judge (“Report”) (Doc. 77) was entered, recommending that the court grant

Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint for Patent Infringement

(“Motion”) (Doc. 63) pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state

plausible claims for direct and indirect patent infringement. The Report nevertheless recommends

that the court give Plaintiff one final opportunity to amend its pleadings to allege plausible claims

for direct and indirect patent infringement. No objections to the Report were filed by Plaintiff, and

the deadline for filing objections has expired.

       Having considered Defendant’s Motion, the parties’ briefs, the pleadings, record in this

case, and Report, the court determines that the findings and conclusions of the magistrate judge

are correct, and accepts them as those of the court. Accordingly, the court grants Defendants’

Motion (Doc. 63) and dismisses without prejudice Plaintiff’s claims for direct and indirect patent

infringement, but it will allow Plaintiff to amend its pleadings one final time to cure the

deficiencies identified by the magistrate judge. Plaintiff must file an amended complaint by

September 6, 2024. Failure to do so will result in the dismissal with prejudice of Plaintiff’s patent


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infringement claims under Rule 12(b)(6). Further, any amended complaint by Plaintiff shall be

limited to the claims previously pleaded and subject to Defendants’ Motion, as addressed in the

Report. If Plaintiff wishes to amend to add claims not included in its prior pleadings, it must first

comply with Federal Rule of Civil Procedure 15(a) and any applicable Local Civil Rules. Failure

to do so will result in the noncompliant pleading or motion being sua sponte stricken or denied

without further notice.

       It is so ordered this 13th day of August, 2024.




                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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